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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division


  KOFI OWUSU-BOAKYE,                              )
       Plaintiff,                                 )
               V.                                 )
                                                  )           Case No. l:I8-cv-1344
   WILLIAM BARR,                                  )
          Attorney General of the United          )
          States, etaL^                           )
          Defendants.                             )
                                                  )
                                    MEMORANDUM OPINION


         This matter arises from the final decision of the Board of Immigration Appeals ("BIA")

 affirming the United States Citizenship & Immigration Services' ("USCIS") decision to deny

  plaintiffs 1-130 alien relative petition to grant a visa to plaintiffs spouse. In short,BIA and USCIS

 justified the denial of plaintiffs petition on the ground that there was substantial and probative

 evidence that plaintiffs spouse had previously entered into a fraudulent marriage for the purpose

 ofevading immigration law and was thus ineligible for an immediate relative visa. In the Amended

  Complaint, plaintiff has challenged BIA's decision on several grounds, and the parties have each

  moved for summary judgment on plaintiffs claims.

                                                   I.


         The Administrative Procedure Act("APA")' confines judicial review of agency decisions

 to the administrative record of proceedings before the pertinent agency. See 5 U.S.C. § 706; see

  also Camp v. Pitts, 411 U.S. 138, 142 (1973). Put another way,"when a party seeks review of

  agency action under the APA,the districtjudge sits as an appellate tribunal." Am. Bioscience, Inc.

  V. Thompson, 269 F.3d 1077, 1083 (D.C. Cir. 2001). Given the district court's limited role in



   5 U.S.C. §701 etseq.
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